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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                  Plaintiff,


v.                                    ORDER
                                      Criminal File No. 05-282 (MJD/JJG)


(1) CHRISTOPHER WILLIAM SMITH,

               Defendant.
________________________________________________________________




     IT IS HEREBY ORDERED that:

     Defendant Christopher William Smith shall remain at Minnesota
     Correctional Facility-Oak Park Heights and be subject to the following
     conditions:

     1.    Defendant Smith shall be held in a self-contained cell within the
           administrative control unit (“ACU”) in order to restrict interaction
           with other prisoners.

     2.    Defendant Smith is permitted to meet in person with his attorney,
           Joseph Friedberg. Defendant Smith shall have no other visitation
           privileges.

     3.    Defendant Smith shall only be permitted to make telephone calls to
           his attorney, Joseph Friedberg. No other telephone privileges are
           permitted.

     4.    Defendant Smith shall only receive mail from his attorney, Joseph
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           Friedberg. Defendant Smith shall only send outgoing mail to his
           attorney, Joseph Friedberg, at the following address: Joseph S.
           Friedberg, Chartered; 150 South 5th Street; Suite 320; Minneapolis,
           Minnesota 55402. Defendant Smith shall have no other mail
           privileges.




Dated: March 24, 2006_                     s / Michael J. Davis
                                           Judge Michael J. Davis
                                           United States District Court
